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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                          MIAMI DIVISION
                        Case Number: 18-21953-CIV-MARTINEZ-OTAZO-REYES

   CARELYN FYLLING,

           Plaintiff,
   V.


   ROYAL CARIBBEAN CRUISES, LTD.,
   a Liberian Corporation,

           Defendant.
   _______________;/
                                               VERDICT FORM

           We the jury find as follows:

        1. Was Defendant, RpYAL CARIBBEAN CRUISES, LTD., negligent and was such

           negligence a legal cause ofloss, injury, or damage to plaintiff CAREL YN FYLLING?

                   (ii) ✓                         NO~--

           (If your answer to Question 1 is "NO," this ends your deliberations and your
           verdict is for the defendant. Your foreperson should sign and date the last page
           of this verdict form).

           If your answer to Question 1 is "YES," please answer Question 2.


        2. Was there negligence on the part of Plaintiff, CARELYN FYLLING, that was a legal cause

                          injury, or damage?

                             ✓                    NO- - - - - -

           If you answered YES to Question 2, please answer question 3. If you answered
           "NO" to Question 2, please skip Question 3 and answer Questions 4-5.




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      3. State the percentage of any negligence that you charge to:

                 Defendant, ROYAL CARIBBEAN CRUISES, LTD.:

                 Plaintiff, CAREL YN FYLLING:

                 TOTAL MUST EQUAL 100%

         Please answer Questions 4-5.



      4. What sum of money do you find to be the total amount of Plaintiff CAREL YN

         FYLLING'S damages?


                   a. Medical, hospital, and other care expenses to be sustained in the future?



                   b. Lost wages, benefits, and earning capacity sustained in the past?

                                                               $_ _~-----

                   c. Lost wages, benefits, and earning capacity to be sustained in the future?
                                                               $_____    q__
                   d. Pain and suffering, mental anguish, disability, physical impairment,
                      inconvenience, aggravation of a preexisting disease or physical defect, and/or
                      loss of capacity for the enjoyment of life sustained in the past?

                                                              $       75'0 ODD, OD
                   e. Pain and suffering, mental anguish, disability, physical impairment,
                      inconvenience, aggravation of a preexisting disease or physical defect, and/or
                      loss of capacity for the enjoyment oflife to be sustained in the future?

                                                              $_       _____,Q<I<-----.- -




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         TOTAL COMPENSATORY DAMAGES
         OF THE PLAINTIFF, CARELYN FYLLING.         $           1 50       oDV, 00
                                                         (Add lines 4a-~




              SO SAY WE ALL this   ,2// fl, day of SeAer, 2021.
                                        ----        --   - --   --




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